EXHIBIT C
                                                                                                            Filed
                                                                                            12/11/2023 2:23 PM
                                                                                                Anne Lorentzen
                                                                                                   District Clerk
                                                                                          Nueces County, Texas


                     CAUSE NO. 2020DCV-3095-B
MARY KAY MCGUFFIN               §          IN THE DISTRICT COURT OF
                                §
   Plaintiff,                   §
                                §
v.                              §             NUECES COUNTY, TEXAS
                                §
CINCH ENERGY SERVICES, LLC,     §
ET AL.                          §
                                §
   Defendants.                  §              117th JUDICIAL DISTRICT

           PLAINTIFF MARY KAY MCGUFFIN’S THIRD AMENDED PETITION,
             REQUEST FOR ACCOUNTING, REQUEST FOR TEMPORARY
             INJUNCTION, DECLARATORY JUDGMENT, AND JURY DEMAND

           Plaintiff Mary Kay McGuffin (“Plaintiff” or “McGuffin”) files this Third Amended

  Petition, Request for Accounting, Request for Temporary Injunction, Declaratory

  Judgment, and Jury Demand against Cinch Energy Services, LLC, Cinch Wireline

  Services, LLC, Frank Thomas Shumate, Jr., Patron Wireline, LLC, and Justin Sprencel

  (collectively as “Defendants”) and would respectfully show the Court the following:

                                          I. PARTIES

           1.     Plaintiff Mary Kay McGuffin is an individual residing in Colorado County,

  Texas.

           2.     Defendant Cinch Energy Services, LLC is a limited liability company with

  its principal business address of P.O. Box 707, Ganado, Texas, and has made an appearance

  in this case.

           3.     Defendant Cinch Wireline Services, LLC is a limited liability company with

  its principal business located at 5821 Agnes St., Corpus Christi, TX 78406, and has made

  an appearance in this case.

           4.     Defendant Frank Thomas Shumate. Jr. is an individual and has made an

  appearance in this case.
        5.      Defendant Patron Wireline, LLC is a Texas limited liability company with

its principal office located at 5821 Agnes St., Corpus Christi, Texas 78406, and has made

an appearance in this case.

        6.      Defendant Justin Sprencel is a Nueces County, Texas, resident and has

made an appearance in this case.

                          II.         JURISDICTION AND VENUE

        7.      This Court has jurisdiction over this matter, as the damages in controversy

are within the jurisdictional limits of this Court.

        8.      Pursuant to Texas Rule of Civil Procedure 47, Plaintiff is seeking monetary

relief over $1,000,000.

        9.      Venue is proper in Nueces County because Defendant Frank Thomas

Shumate, Jr. resided in Nueces County at the time the causes of action accrued.

        10.     Venue is also proper in Nueces County because Defendant Cinch Wireline

Services, LLC’s principal office is located in Nueces County.

        11.     Venue is also proper in Nueces County because Defendant Patron Wireline,

LLC’s principal office is located in Nueces County.

        12.     Venue is also proper in Nueces County because Defendant Justin Sprencel

resides in Nueces County.

        13.     Venue is also proper in Nueces County because all or a substantial part of

the events or omissions giving rise to the claims occurred in Nueces County.




                                              2
                                   III.     DISCOVERY

       14.     In accordance with Texas Rules of Civil Procedure, discovery in this case

is intended to be conducted under Level 3.

                                      IV.     FACTS

       15.     This case is about Corpus Christi resident Frank Thomas Shumate, Jr.

(“Tom” or “Shumate”), taking advantage of Plaintiff Mary Kay McGuffin (“Plaintiff,”

“Kayce” or “McGuffin”), using her knowledge of the wireline business (oil and gas

services) to lure her into helping him start a business, and then cutting her out.

A.     Shumate’s History

       16.     Shumate has a history (unknown to McGuffin at the time) of stealing the

services of others, as evidenced by the recent judgment upheld by the 13th Court of Appeals

in Shumate v. Berry Contr., L.P., No. 13-19-00382-CV, 2021, Tex. App. LEXIS 5648, *1-

2 (Tex. App.—Corpus Christi July 15, 2021, R. 53.7(f) motion filed). Bay sued Shumate

in March 2012 under the Texas Theft Liability Act, as well as for fraud, conversion, and

other claims for injuries allegedly discovered in 2011. Id. at *1. In its live pleading, Bay

alleged that Shumate, in conspiracy with Bay employees, provided Bay's truck hauling

services to third parties without compensating Bay. Id. at *1-2. Bay further alleged that

Shumate utilized Bay's services, materials, equipment, and supplies to improve Shumate's

real property. Bay alleged that in many cases, Shumate received payment from third parties

for services provided by Bay. Id. at *2.

       17.     The jury found in favor of Bay on each of its claims and assessed actual

damages against Shumate in the amount of $896,090.47. Id. at *8-9. The jury also found

that Bay was entitled to $4,480,452.35 in punitive damages and $392,253.60 in attorney's


                                             3
Fees, plus conditional appellate attorney's fees. Id. at *9. Bay elected to recover on its Theft

Liability Act claim. Id.

       18.     The Thirteenth Court of Appeals held that the evidence established that

Shumate engaged in a years-long scheme of misappropriating Bay's materials and services.

Id. at *19. Further, the court held that the evidence established that Shumate, acting in

concert with Bay's employees, engaged in a purposeful scheme to deceive Bay and procure

the use of Bay's services and materials for Shumate's benefit. Id. The court acknowledged

that Shumate's actions, as found by the jury, were clearly the result of intentional trickery

or deceit as opposed to accidental behavior. Id. at 19-20. The court concluded that, on

balance, the reprehensibility guidepost supported the award of punitive damages against

Shumate. Id. at *20.

B.     Shumate Gains the Trust of McGuffin

       19.     McGuffin met Shumate in approximately 1985 when Shumate was dating a

friend of McGuffin’s, who is now deceased. Shumate and McGuffin became good friends

and established a friendship that lasted approximately 30 years. Shumate became like a

brother to McGuffin, and McGuffin considered him a part of her family. He was

McGuffin’s friend and trusted advisor, and McGuffin called him such when McGuffin

appointed him as the sole Independent Executor of her Will and estate and Trustee of the

Mary Kay McGuffin Trust in her will. McGuffin also named Tom as her medical power of

attorney and statutory durable power of attorney. McGuffin’s boys called him “Uncle

Tom.” He bought McGuffin’s son his first rifle, and he taught McGuffin’s boys how to

hunt. Tom was always talking to McGuffin about starting a business together. He told her




                                              4
that if you work for somebody else, then you will never be successful; you need to own

your own business.

C.     Formation of Cinch Wireline Services, LLC

       20.     McGuffin and Shumate began discussing starting a wireline business in

2014 because McGuffin had been employed for the prior 13 years, approximately, by the

Wood Group, which provided wireline services to the oil and gas industry. McGuffin was

not happy at the Wood Group after GE acquired it in approximately 2011. McGuffin knew

the wireline business and had many client contacts. By the end of June 2014, Tom and

McGuffin had reached an agreement to start Cinch Wireline Services, LLC. The

discussions and negotiations regarding starting Cinch Wireline Services primarily took

place at Tom’s house located at or around 6118 King Trail, Corpus Christi, Nueces County,

Texas, or on phone calls with Tom while he was at his house at 6118 King Trail, Corpus

Christi, Nueces County, Texas. They did not have any discussions or negotiations in Jackson

County, Texas. Tom was not living or residing in Alabama (or anywhere else other than

Corpus Christi, Texas) at the time that they were negotiating the formation of the company,

although he did take frequent fishing trips.

       21.     The agreement regarding Cinch Wireline Services was that McGuffin

would provide the “sweat equity” (including managing the day-to-day operations, business

generation, sourcing equipment and vendors, and other matters necessary to run the

business) and Cinch Energy Services, LLC (of which Tom is a member) would provide the

financial backing. They agreed that McGuffin would own 30% of Cinch Wireline Services,

LLC and Cinch Energy Services, LLC would own 70%. McGuffin never worked for Cinch




                                               5
Energy Services, LLC; Tom just directed that Cinch Energy Services, LLC pay McGuffin

a salary so she could live while Cinch Wireline Services, LLC was getting up and going.

       22.     Based on this agreement, McGuffin began putting vendors on notice,

obtaining bids on manufacturing and services, engaging with future employees, contacting

potential clients from her client list, and getting current market pricing in order, as well as

other tasks required to start the business.

       23.     Cinch Wireline Services, LLC used Tom’s property at 6118 King Trail,

Corpus Christi, Nueces County, Texas, for the yard to store equipment and trucks, and it

was the home-base for all Cinch Wireline Services, LLC operations. The Cinch Wireline

Services, LLC employees reported to the yard at 6118 King Trail, Corpus Christi, Nueces

County, Texas. The only thing that occurred at the Ganado location was back-office work

because that is where the Cinch Energy Services, LLC office workers were located.

       24.     McGuffin’s company credit card statements were sent to Tom’s house.

They were addressed: Kayce McGuffin, FTS Trucking Co., Inc., 6118 King Trl, Corpus

Christi, TX 78414-630918. “FTS” stands for Frank Thomas Shumate.

       25.     Cinch Wireline Services, LLC is now located at 5821 Agnes St., Corpus

Christi, Nueces County, Texas 78406.

       26.     In September 2014, David S. Gibson, II (the lawyer used by Tom and Cinch

Energy) prepared a written Company Agreement, but it conflicted with the oral agreement

already made by McGuffin and Tom, which was that McGuffin would own 30% of Cinch

Wireline, while the Company Agreement stated that McGuffin would own 20%. She also

had other questions regarding the agreement, but McGuffin wanted to clear the ownership

interest percentage first. She raised this with Tom, but he always avoided addressing it.


                                              6
C.      Shumate Unilaterally Shuts McGuffin Out

        27.      In 2015, McGuffin was in her bedroom when she saw a strange person

getting into her company vehicle parked outside of her house. She went outside with a gun

and told him to get on the ground, which he did. McGuffin then called 911 because she

thought the man was stealing the company vehicle. The person stated that he was there to

take back the company vehicle. This was how McGuffin learned that she was purportedly

being fired from Cinch Wireline Services. The police showed up and told McGuffin that

she did not have to let the person take the vehicle because it was a civil matter, but

McGuffin let him take it. McGuffin never received a formal notice or other communication

regarding termination.

        28.      McGuffin still owns her membership interest, yet she has been shut out of

the company and has not received any distributions nor been provided with an accounting.

        29.      Cinch Wireline has continued operating. Shumate has kept Cinch Wireline

in good standing, filing Texas Franchise Tax Public Information Reports (“PIR”).1 In the

2015 PIR, dated November 10, 2015, Shumate is listed as President of Cinch Wireline, and

Mark Lopez is listed as Vice President.2 In the 2016 PIR, dated August 27, 2016, Shumate

is listed as Director and President of Cinch Wireline.3

        30.      On February 14, 2018, Shumate individually signed a Certificate of

Amendment purporting to amend the Certificate of Formation to show Cinch Energy,

Justin Sprencel, and Patron Wireline, LLC as managing member.4 In the 2019 PIR (dated


1 Ex. A, 2015 PIR; Ex. B, 2016 PIR; Ex. C, 2019 PIR; Ex. D, 2020 PIR.
2
  Ex. A, 2015 PIR.
3
  Ex. B, 2016 PIR.
4
  Ex. E, 2018 Certificate of Amendment



                                                  7
September 13, 2019) and the 2020 PIR (dated October 15, 2020), Patron Wireline, LLC,

Cinch Energy and Justin Sprencel are all listed as a managing members.5 Shumate is the

sole managing member of Patron Wireline, LLC.6 In the most recent PIR for Patron

Wireline, LLC, Shumate is listed as the sole member and director, with a mailing address

of 5821 Agnes St., Corpus Christi, TX 78406.7 Additionally, the principal place of business

for Patron Wireline, LLC is listed as 5821 Agnes St., Corpus Christi, TX 78406.8 Cinch

Wireline’s address is also listed as 5821 Agnes St., Corpus Christi, TX 78406 on its

website.9

         31.      Shumate is a managing member of Cinch Energy,10 as well as the

president.11

         32.      Now that Cinch Energy, Justin Sprencel, and Patron Wireline are being

treated as members purportedly with membership interests, they would be receiving

distributions from Cinch Wireline Services or distributions from some other entity because

of their purported membership and membership interests in Cinch Wireline, but McGuffin

is entitled to her 30% membership interest.

                                         V. CAUSES OF ACTION

A.       Breach of Contract

          33.     McGuffin incorporates the preceding paragraphs by reference as if fully set

forth herein.




5
  Ex. C, 2019 PIR; Ex. D, 2020 PIR.
6
  Ex. F, Patron Wireline Certificate of Formation.
7
  Ex. G, Patron Wireline 2021 PIR.
8
  Ex. G, Patron Wireline 2021 PIR.
9
  Ex. H, website screenshot; https://cinchtexas.com/contact
10
   Ex. I, Certificate of Formation for Cinch Energy.
11
   Ex. J, Cinch Energy 2020 PIR.

                                                     8
         34.    Defendants Shumate and Cinch Energy breached their agreement with

McGuffin that she is a 30% owner of Cinch Wireline, holding a 30% membership interest,

causing McGuffin’s injuries. The damages and breach continue to this day as Cinch

Wireline continues to operate without providing an accounting or making distributions to

McGuffin.

B.     Unjust Enrichment

         35.    McGuffin incorporates the preceding paragraphs by reference as if fully set

forth herein.

         36.    McGuffin is entitled to recover under the theory of unjust enrichment

because Defendants have obtained benefits from McGuffin by fraud, duress, or taking

undue advantage, or the contemplated agreements are unenforceable, impossible, not fully

performed, thwarted by mutual mistake, or void for other legal reasons. All Defendants

have profited from Cinch Wireline’s operation, but McGuffin, as a 30% owner, has not.

30% of Defendants’ income derived from Cinch Wireline rightly belongs to McGuffin.

This claim and damages continue to accrue.

C.     Money Had and Received

       37.      McGuffin incorporates the preceding paragraphs by reference as if fully set

forth herein.

       38.      Defendants hold money that belongs to McGuffin in equity and good

conscience. All Defendants have profited from Cinch Wireline’s operation, but McGuffin,

as a 30% owner, has not. 30% of Defendants’ income derived from Cinch Wireline rightly

belongs to McGuffin. This claim and damages continue to accrue.



                                            9
D.      Breach of Fiduciary Duty

        39.     McGuffin incorporates the preceding paragraphs by reference as if fully set

forth herein.

        40.     Defendants, as purported members, officers and directors of Cinch

Wireline, owe fiduciary duties to Cinch Wireline Services, LLC. Defendants breached their

fiduciary duties to Cinch Wireline Services, LLC by having Cinch Wireline Services, LLC

make improper distributions and pay for personal items. Defendants also breached their

duties to Cinch Wireline by favoring certain members, officers, or directors over Cinch

Wireline’s interests. Based on information and belief, Cinch Wireline Defendants’

breaches resulted in injuries to Cinch Wireline Services, LLC, or benefits to the Defendants.

Defendants put their interests ahead of Cinch Wireline Services, LLC. McGuffin is entitled

to recover her actual damages for these breaches of fiduciary duties as well as equitable

relief, including accounting and disgorgement.

        41.     Defendant Shumate also breached fiduciary duties to McGuffin. As a

trusted advisor and friend, Shumate owed McGuffin fiduciary duties, which he breached

by taking advantage of her knowledge and experience in the wireline business to benefit

himself through companies that he owns (at least in part). These breaches and damages

continue to this day.

E.      Declaratory Judgment

        42.     McGuffin incorporates the preceding paragraphs by reference as if fully set

forth herein.

       Pursuant to Chapter 37 of the Texas Civil Practices & Remedies Code, McGuffin seeks a

declaration of the rights, status, and other legal relations of the parties in, to, and with respect to


                                               10
     Cinch Wireline, (1) Cinch Energy is no longer a Member of Cinch Wireline; (2) Sprencel is a

     Member with a 45% interest; (3) Mendietta is a Member with a 20% interest; and (4) McGuffin

     is a Member with a 30% interest.

     F.      Demand for Accounting

             43.     McGuffin incorporates the preceding paragraphs by reference as if fully set

     forth herein.

             44.     The facts and accounts presented are so complex that relief may not be

     provided for at law. There is a close fiduciary relationship between the parties, and

respondents have access to the information necessary to provide an accounting.

             45.     Defendants hold, possess, or manage funds and will continue to hold,

     possess, or manage future funds from revenues to which Plaintiff is entitled in whole or in

     part.

             46.     Plaintiff demands an accounting from Cinch Wireline Services, LLC.

             47.     Plaintiff is entitled to an accounting from Defendants to determine the actual

     amounts due and owing to Plaintiff.

     G.      Constructive Trust

             48.     McGuffin incorporates the preceding paragraphs by reference as if fully

     set forth herein.

             49.     Because of the unconscionable and wrongful conduct of Shumate and Cinch

     Energy, they will be unjustly enriched if they are allowed to retain the property stolen from

     McGuffin and Cinch Wireline and will be unjustly enriched if they are allowed to retain

     any property that was purchased with or comingled with their own property.




                                                  11
       50.      Accordingly, McGuffin and Cinch Wireline request a constructive trust be

imposed on the property stolen, the proceeds, and any property of Shumate and Cinch

Energy that has been acquired by them with McGuffin’s and Cinch Energy’s property or

comingled with Shumate’s and Cinch Energy’s property.

H.     Application for Temporary Injunction

       51.      McGuffin incorporates the preceding paragraphs by reference as if fully set

forth herein.

       52.      Based on information and belief, in November 2023, a special meeting of

Cinch Wireline was called pursuant to the Cinch Wireline Operating Agreement for the

purpose of taking a vote on whether Cinch Energy should be expelled as a Member of

Cinch Wireline. Although duly notified, Cinch Energy failed to attend the meeting. A

vote was taken, and it was unanimously voted to expel Cinch Energy from Cinch Wireline.

As a result, Cinch Energy forfeited its membership in Cinch Wireline.

       53.      It was then unanimously decided that Sprencel is a forty-five percent (45%)

holder of units, Mendietta is a twenty percent (20%) holder of units, and McGuffin is a

thirty percent (30%) holder of units in Cinch Wireline. These are the current owners of

Cinch Wireline. Cinch Energy was duly given notice of the results of the meeting.

       54.      Despite notice of the change of ownership, Cinch Energy and Shumate have

continued to make business decisions purportedly on behalf of Wireline; selling off assets

of Wireline; not paying off creditors of Wireline; diverting monies to Shumate or his other

entities; and causing great diminution in the value of the membership units for each current

Member.

       55.      Unless Shumate and Cinch Energy are restrained and enjoined from their

wrongful conduct, the rightful owners of Cinch Wireline will sustain irreparable injury by
                                            12
being prevented from making business decisions and running Cinch Wireline’s dayto-day

business operations. The value of the membership interests has been diluted and will

continue to be diluted if this conduct is not enjoined. If not enjoined, Cinch Wireline will

continue to lose value, not be able to pay its debts, and may become insolvent.

       56.       McGuffin has no other adequate remedy at law.

       57.       McGuffin has shown a probable right to recover on her claims and causes

of action.

       58.       Injury or prejudice to the opposing party is minimal.

       59.       McGuffin’s request for injunctive relief does not violate any public policy

and, in fact, furthers the public policy of the State of Texas.

       60.       All requirements of section 65.011 of the Civil Practice and Remedies Code

and all conditions precedent have been satisfied for the temporary relief sought herein and

for the reasons set forth above.

       61.       McGuffin requests that a cash bond in the amount of $500.00 be posted in

support of this request for injunctive relief, and that a hearing on a preliminary injunction

be timely set.

       62.       McGuffin incorporates herein the declaration of Mary Kay McGuffin

attached as Exhibit K hereto.

       63.       McGuffin requests that the Court order the following temporary injunction

against the defendants:

                 •        Enjoin the Defendants from making any business decision on behalf
                          of Cinch Wireline;

                 •        Enjoin the Defendants from selling or pledging any collateral of
                          Cinch Wireline;



                                              13
                •        Turning over all books, records, and financial documents to the
                         current owners of Cinch Wireline;

                •        Turning over all bank accounts and accounts receivable of Cinch
                         Wireline to the current owners;

                •        Enjoin the Defendants from writing any checks or withdrawing any
                         deposits belonging to Cinch Wireline;

                •        Enjoin the Defendants from interfering with the business operations
                         of Cinch Wireline.


I.     Discovery Rule

       64.          The claims asserted by Plaintiff in this action are based on acts and

omissions perpetrated and intentionally concealed by the Defendants. As such, the

Defendants’ acts and omissions were undiscoverable to Plaintiff, and Plaintiff

affirmatively pleads the discovery rule with respect to those of her causes of action that the

Defendants contend are barred by the Statute of Limitations.

                                      VI.   DAMAGES

       65.     Defendants’ acts have been the producing and proximate causes of

Plaintiff’s actual damages in excess of the minimum jurisdictional limits of this court.

Plaintiff is entitled to both general and special damages.

       66.     Defendants’ conduct was committed knowingly and intentionally.

Plaintiff’s injuries resulted from Defendants’ fraud, malice, or gross negligence.

Accordingly, Defendants are liable for exemplary damages.

                               VII.    ATTORNEY’S FEES

       67.     Plaintiff is entitled to reasonable and necessary attorneys’ fees pursuant to

Chapter 38 of the Tex. Civ. Prac. & Rem. Code.




                                             14
                   VIII. PERSONAL AND DERIVATIVE CLAIMS

       68.     McGuffin brings her claims personally and derivatively as authorized by

Tex. Bus. Org. Code §§ 101.451 – 101.463.

                          IX.     CONDITIONS PRECEDENT

       69.     All conditions precedent to bringing the above causes of action have been

met or occurred.

                         X.      ALTERNATIVE PLEADINGS

       70.     The foregoing facts and theories are pled cumulatively and alternatively

with no election or waiver of rights or remedies.


                                 XI.     TRIAL BY JURY

     71.       Plaintiff requests a trial by jury and submits an appropriate jury fee.

                                       XII.   PRAYER
    72.       Plaintiff prays that Defendants be cited to appear and that Plaintiff has

judgment against Defendants for all relief requested and for such other and further relief,

general and special, at law or in equity, to which Plaintiff is entitled, including but not

limited to:

       a.      All the actual damages and exemplary damages caused by the wrongful
               conduct complained of herein;
       b.      Equitable relief including, but not limited to, an accounting and
               disgorgement;
       c.      Reasonable and necessary attorney’s fees;
       d.      Pre- and post-judgment interest;
       e.      Costs of suit; and
       f.      Other such relief at law and equity for which Plaintiff may be justly entitled.




                                              15
Respectfully submitted,

BUTCH BOYD LAW FIRM




___________________________________
BUTCH BOYD
State Bar No. 00783694
butchboyd@butchboydlawfirm.com
JILLIAN SCHERRER
State Bar No. 24117793
jillianscherrer@butchboydlawfirm.com
2905 Sackett Street
Houston, TX 77098
Phone: (713) 589-8477
Fax:(713) 589-8563

ATTORNEYS FOR PLAINTIFF, MARY KAY MCGUFFIN




   16
                                 CERTIFICATE OF SERVICE

        I hereby certify that a true and correct of the above and the foregoing has been forwarded to
all counsel of record in accordance with T.R.C.P. by the method indicated below on this 11th day of
December 2023.

       Via E-Mail
       Melissa Christian
       Email: melissa@smcesq.com
       State Bar No. 24073110
       Shann M. Chaudhry
       Email: shann@smcesq.com
       State Bar No. 24044711
       Paul W. O’Finan
       Email: paul@smcesq.com
       State Bar No. 24027376
       Shann M. Chaudhry, Esq., Attorney at Law PLLC
       14100 San Pedro Ave., Suite 210
       San Antonio, Texas 78232
       Phone: (210) 646-9400
       Fax: (210) 646-0038
       Douglas Allison
       Email: doug@dallisonlaw.com
       State Bar No. 01083500
       Law Offices of Douglas A. Allison
       403 N. Tancahua Street
       Corpus Christi, Texas 78401
       Phone: (361) 888-6002
       Fax: (361) 888-6651

       Via E-Mail
       Mitchell Clark
       Email: mitchell@hilliard-law.com
       State Bar No. 04283900
       719 S. Shoreline Boulevard
       Corpus Christi, Texas 78401
       Phone: (361) 882-1612
       Fax: (361) 882-3015




                                                 17
Via E-Mail
Frank Weathered
Email: frank@weatheredlaw.com
State Bar No. 20998600
P.O. Box 6935
Corpus Christi, Texas 78466
Phone: (361) 904-3157
ATTORNEYS FOR DEFENDANTS



                                ________________________________
                                BUTCH BOYD




                                   18
A
B
C
D
E
F




    F
G
                 123456ÿ8349:;3<




0123453ÿ78ÿ94ÿ 4 ÿ
 54 ÿ78ÿ1ÿ1ÿ
          4241ÿ
           01143ÿ5
              ÿÿ1ÿ
            4241ÿ !48ÿ
             "#$%&&$%"'$ÿÿ
        81 ()525*3!4851
       0178ÿ0*83ÿ
              + 2
          ,$ÿ-.2 8ÿ/3 3ÿ
         0178ÿ0*83ÿ !48ÿ
            "#$%',%"#$ÿÿ
        2 334)525*3!4851




           0 531                H
                      08 87ÿ 37
                                    ÿÿ
                           ÿ!"#$%

                      08 87ÿ 37ÿ
                      &'()**()&+,(ÿ
                      2-ÿ)ÿ.81ÿ) 




                                             /01ÿ3040ÿ56768ÿ9::;<=>ÿ?@A9?




                        01234ÿ62789
72ÿ8ÿÿÿÿÿ




                       01234ÿ187127
72ÿ8ÿÿÿÿÿ
I
J
                         Automated Certificate of eService
This automated certificate of service was created by the efiling system.
The filer served this document via email generated by the efiling system
on the date and to the persons listed below. The rules governing
certificates of service have not changed. Filers must still provide a
certificate of service that complies with all applicable rules.

LeRae Karn on behalf of Ernest Boyd
Bar No. 783694
lerae.hancock@live.com
Envelope ID: 82445537
Filing Code Description: Amended Filing
Filing Description: Plaintiff Mary Kay McGuffin's Third Amended Petition,
Request For Accounting, Request For Temporary Injunction, Declaratory
Judgment, And Jury Demand
Status as of 12/13/2023 9:53 AM CST

Associated Case Party: MaryKayMcGuffin

Name                     BarNumber      Email                               TimestampSubmitted       Status

Katrina Chamblee-Boyd                   katrinaboyd@butchboydlawfirm.com    12/11/2023 2:23:27 PM    SENT

LeRae Karn                              leraekarn@butchboydlawfirm.com      12/11/2023 2:23:27 PM    SENT

Jillian Scherrer                        jillianscherrer@butchboydlawfirm.com 12/11/2023 2:23:27 PM   SENT

Butch Boyd                              butchboyd@butchboylawfirm.com       12/11/2023 2:23:27 PM    ERROR



Associated Case Party: Cinch Energy Services, LLC

Name                 BarNumber    Email                     TimestampSubmitted     Status

Douglas AAllison                  doug@dallisonlaw.com      12/11/2023 2:23:27 PM SENT

Kim Brunkenhoefer                 kim@dallisonlaw.com       12/11/2023 2:23:27 PM SENT

Susan Gonzales                    susan@dallisonlaw.com 12/11/2023 2:23:27 PM SENT

Eric A.Laskowski                  Eric@KirklinLaw.com       12/11/2023 2:23:27 PM SENT

Sharon Wright                     sharon@smcesq.com         12/11/2023 2:23:27 PM SENT

Paul O'Finan                      paul@smcesq.com           12/11/2023 2:23:27 PM SENT

Melissa Christian                 melissa@smcesq.com        12/11/2023 2:23:27 PM SENT

Paul Kirklin                      pkirklin@kirklinlaw.com   12/11/2023 2:23:27 PM SENT



Associated Case Party: Cinch Wireline Services LLC

Name                BarNumber   Email                    TimestampSubmitted     Status

Eric A.Laskowski                Eric@KirklinLaw.com      12/11/2023 2:23:27 PM SENT

Paul Kirklin                    pkirklin@kirklinlaw.com 12/11/2023 2:23:27 PM SENT
                         Automated Certificate of eService
This automated certificate of service was created by the efiling system.
The filer served this document via email generated by the efiling system
on the date and to the persons listed below. The rules governing
certificates of service have not changed. Filers must still provide a
certificate of service that complies with all applicable rules.

LeRae Karn on behalf of Ernest Boyd
Bar No. 783694
lerae.hancock@live.com
Envelope ID: 82445537
Filing Code Description: Amended Filing
Filing Description: Plaintiff Mary Kay McGuffin's Third Amended Petition,
Request For Accounting, Request For Temporary Injunction, Declaratory
Judgment, And Jury Demand
Status as of 12/13/2023 9:53 AM CST

Associated Case Party: FrankThomasShumate

Name                 BarNumber   Email                   TimestampSubmitted        Status

Eric A.Laskowski                 Eric@KirklinLaw.com     12/11/2023 2:23:27 PM SENT

Paul Kirklin                     pkirklin@kirklinlaw.com 12/11/2023 2:23:27 PM SENT



Case Contacts

Name                       BarNumber     Email                                 TimestampSubmitted   Status

Frank Edward Weathered 20998600          frank@weatheredlaw.com                12/11/2023 2:23:27 PM SENT

Douglas A. Allison         1083500       doug@dallisonlaw.com                  12/11/2023 2:23:27 PM SENT

Brandon Evans                            pkirklin@kirklinlaw.com               12/11/2023 2:23:27 PM SENT

Michael J. Blanchard                     mikeblanchard@butchboydlawfirm.com 12/11/2023 2:23:27 PM SENT

LeRae Karn                               leraekarn@butchboydlawfirm.com        12/11/2023 2:23:27 PM SENT

Sandy Murray                             sandymurray@butchboydlawfirm.com      12/11/2023 2:23:27 PM SENT

Paul Kirland                             pkirklin@kirklinlaw.com               12/11/2023 2:23:27 PM SENT

Jason Pepe                               jpepe@kirklinlaw.com                  12/11/2023 2:23:27 PM SENT

Alysa Grissom                            agrissom@hilliard-law.com             12/11/2023 2:23:27 PM SENT

J. Mitchell Clark                        mitchell@hilliard-law.com             12/11/2023 2:23:27 PM SENT

Brandon Evans                            bevans@kirklinlaw.com                 12/11/2023 2:23:27 PM SENT



Associated Case Party: Justin Sprencel

Name           BarNumber   Email                  TimestampSubmitted      Status

Mel Galvan                 mel@dcklawyers.com 12/11/2023 2:23:27 PM       SENT
